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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

United States of America,                          :
and the States of California,                      :
Colorado, Connecticut, Delaware,                   :
Florida, Georgia, Hawaii, Illinois,                :
Indiana, Iowa, Louisiana, Maryland,                :
Massachusetts, Michigan, Minnesota,                :
Montana, Nevada, New Hampshire,                    :
New Jersey, New Mexico New York,                   :
North Carolina, Oklahoma, Rhode Island,            :
Tennessee, Texas, Virginia, Wisconsin              :
and the District of Columbia, and the Cities       :
of Chicago and New York,                           :      CIVIL ACTION NO. 18-cv-1688
                                                   :
       Plaintiffs,                                 :
                                                   :
ex rel. John Doe and Jack Doe, Relators,           :
                                                   :
 v.                                                :
                                                   :
BioTelemetry, Inc., and CardioNet, LLC,            :
                                                   :
        Defendants.                                :
                                                   :

                                            ORDER

       Upon consideration of the United States’ and Relators’ Notice of Voluntary Dismissal,

the Court hereby enters the following orders:

   1. The claims of the United States defined as the Covered Conduct in the Settlement

       Agreement between the parties dated December 19, 2022, are dismissed with prejudice.

   2. All other claims of the United States pled in the above-captioned action are dismissed

       without prejudice to the United States.

   3. All claims pled in the above-captioned action are dismissed with prejudice to the

       Relators.
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   4. The Court retains jurisdiction over the parties to the Settlement Agreement to adjudicate,

      if necessary, any disputes that may arise regarding compliance with the Settlement

      Agreement.


IT IS SO ORDERED,

     28th day of ___________,
This _____        December 20____.
                              22


                                                             /s/ Lynne A. Sitarski
                                                           __________________________
                                                           Lynne A. Sitarski
                                                           Magistrate Judge
